         Case 4:10-cv-01165-SWW Document 29 Filed 07/08/11 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



SHEILA HOLMES                                     *
                                                  *
                       Plaintiff                  *
                                                  *
V.                                                *
                                                  *             NO: 4:10CV1165 SWW
MICHAEL RUSSELL and JERRY                         *
HENRY, in their individual and official           *
capacities                                        *

                       Defendants



                                             ORDER

       By order entered June 24, 2011, the Court directed the parties to confer and agree to dates

on which Defendants will depose Plaintiff and witnesses listed in Plaintiff’s discovery responses.

In a notice filed July 1, 2011, Defendants state that they attempted to confer with Plaintiff’s

counsel by phone, email, and by certified mail, but counsel failed to respond. Defendants state

that they are available to conduct the aforementioned depositions on July 5, 7, 12, 13, 15, 18, 19,

20, 25, and 26, 2011. Plaintiff responds that “Defendants’ alleged communication attempts are

erroneous.” Docket entry #26, ¶ 2. However, Plaintiff states that she and counsel are available

for depositions on July 14, 15, 19, 22, and 26.

       IT IS THEREFORE ORDERED that the depositions of Plaintiff and Plaintiff’s

witnesses shall take place on any or all of the dates on which the parties state they are

available: July 15, 19, and 26, 2011.


                                                      1
        Case 4:10-cv-01165-SWW Document 29 Filed 07/08/11 Page 2 of 2



      IT IS FURTHER ORDERED that the parties must cooperate and make

arrangements for the depositions to proceed as ordered.

      IT IS SO ORDERED THIS 8TH DAY OF JULY, 2011.


                                                 /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE




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